                Case 18-10601-MFW                Doc 3200         Filed 01/25/21        Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE
------------------------------------------------------------- x
                                                              :
In re:                                                        :           Chapter 11
                                                              :
THE WEINSTEIN COMPANY HOLDINGS,                               :           Case No. 18-10601 (MFW)
LLC, et al.,                                                  :
                                                              :           (Jointly Administered)
                                  Debtors.1                   :
                                                              :           Re: Docket No. 3182 & 3190
------------------------------------------------------------- x

    NOTICE OF FILING OF REVISED PROPOSED ORDER CONFIRMING PLAN
  PROPONENTS’ FIFTH AMENDED JOINT CHAPTER 11 PLAN OF LIQUIDATION

         PLEASE TAKE NOTICE that, on January 20, 2021, The Weinstein Company Holdings

LLC and its affiliated debtors and debtors in possession (collectively, the “Debtors”) filed the

Debtors’ and the Official Committee of Unsecured Creditors’ Fifth Amended Joint Chapter 11 of

Liquidation [Docket No. 3182] (as may be amended, modified or supplemented, the “Plan”)

with the United States Bankruptcy Court for the District of Delaware (the “Court”).

         PLEASE TAKE FURTHER NOTICE that, on January 21, 2021, the Debtors filed a

proposed form of order confirming the Plan [Docket No. 3190] (the “Proposed Confirmation

Order”).

         PLEASE TAKE FURTHER NOTICE that, after discussions with certain parties in

interest, the Debtors have prepared a revised form of Proposed Confirmation Order (the

“Revised Confirmation Order”), a copy of which is attached hereto as Exhibit 1.




1 The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are 3837. The
mailing address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4th Floor, New York, New York
10013. Due to the large number of debtors in these cases, which are being jointly administered for procedural
purposes only, a complete list of the Debtors and the last four digits of their federal tax identification numbers is not
provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims and
noticing agent at https://dm.epiq11.com/twc.



RLF1 24681692v.1
               Case 18-10601-MFW           Doc 3200   Filed 01/25/21   Page 2 of 3




         PLEASE TAKE FURTHER NOTICE that, for the convenience of the Court and all

parties in interest, a blackline comparison of the Revised Confirmation Order marked against the

Proposed Confirmation Order is attached hereto as Exhibit 2.

         PLEASE TAKE FURTHER NOTICE that a virtual hearing to consider confirmation of

the Plan (the “Confirmation Hearing”) will be held before The Honorable Mary F. Walrath,

United States Bankruptcy Judge, on January 25, 2021 at 3:00 p.m. (prevailing Eastern Time).

         PLEASE TAKE FURTHER NOTICE that the Debtors intend to present the Revised

Confirmation Order, substantially in the form attached hereto, to the Court at the Confirmation

Hearing. To the extent that the Debtors make revisions to the Revised Confirmation Order prior

to the Confirmation Hearing, the Debtors intend to submit a revised form of order to the Court

prior to or at the Confirmation Hearing.




                                                 2
RLF1 24681692v.1
               Case 18-10601-MFW     Doc 3200     Filed 01/25/21    Page 3 of 3




Dated: January 25, 2021
Wilmington, Delaware
                                   /s/ David T. Queroli
                                   RICHARDS, LAYTON & FINGER, P.A.
                                   Mark D. Collins (No. 2981)
                                   Paul N. Heath (No. 3704)
                                   Zachary I. Shapiro (No. 5103)
                                   Brett M. Haywood (No. 6166)
                                   David T. Queroli (No. 6318)
                                   One Rodney Square
                                   920 North King Street
                                   Wilmington, Delaware 19801
                                   Telephone: (302) 651-7700
                                   Facsimile: (302) 651-7701
                                   Email: queroli@rlf.com
                                   - and -
                                   CRAVATH, SWAINE & MOORE LLP
                                   Paul H. Zumbro (admitted pro hac vice)
                                   Lauren A. Moskowitz (admitted pro hac vice)
                                   Salah M. Hawkins (admitted pro hac vice)
                                   Worldwide Plaza
                                   825 Eighth Avenue
                                   New York, New York 10019
                                   Telephone: (212) 474-1000
                                   Facsimile: (212) 474-3700


                                   Attorneys for the Debtors and Debtors in Possession




                                             3
RLF1 24681692v.1
